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 UNITED STATES DISTRICT COURT                                                                          TRANSCRIPT ORDER                                                                     COURT USE ONLY
NORTHERN DISTRICT OF CALIFORNIA                                                               Please use one form per court reporter.                                                         DUE DATE:
           CAND 435                                                                            CJA counsel please use Form CJA24
              (CAND Rev. 02/2015)                                                               Please read instructions on next page.

1a. CONTACT PERSON FOR THIS ORDER                                               2a. CONTACT PHONE NUMBER                                               3a. CONTACT EMAIL ADDRESS
      Jennifer Vosler                                                               213.426.2523                                                          jvosler@goodwinlaw.com

1b. ATTORNEY NAME (if different)                                                2b. ATTORNEY PHONE NUMBER                                              3b. ATTORNEY EMAIL ADDRESS
      I. Neel Chatterjee                                                            650.752.3100                                                          NChatterjee@goodwinlaw.com

4. MAILING ADDRESS (INCLUDE LAW FIRM NAME, IF APPLICABLE)                                              5. CASE NAME                                                                              6. CASE NUMBER
  Goodwin Procter LLP                                                                                    Waymo LLC v. Uber Technologies, Inc., et al.                                              3:17-cv-00939-WHA
  135 Commonwealth Drive
  Menlo Park, CA 94025
                                                                                                        8. THIS TRANSCRIPT ORDER IS FOR:

7. COURT REPORTER NAME ( FOR FTR, LEAVE BLANK AND CHECK BOX)—►                                FTR           APPEAL             CRIMINAL          In forma pauperis (NOTE: Court order for transcripts must be attached)
  Rhonda Aquilina                                                                                           NON-APPEAL         CIVIL             CJA: Do not use this form; use Form CJA24.


9. TRANSCRIPT(S) REQUESTED (Specify portion(s) and date(s) of proceeding(s) for which transcript is requested), format(s) & quantity and delivery type:

 a.          HEARING(S) (OR PORTIONS OF HEARINGS)                                        b.         SELECT FORMAT(S) (NOTE: ECF access is included         c.        DELIVERY TYPE (Choose one per line)
                                                                                                    with purchase of PDF, text, paper or condensed.)

                      JUDGE             TYPE                 PORTION                      PDF       TEXT/ASCII               CONDENSED ECF ACCESSORDINARY                     EXPEDITED         DAILY       HOURLY
      DATE                                       If requesting less than full hearing,                             PAPER                                   14-Day                                                    REALTIME
                      (initials)     (e.g. CMC) specify portion (e.g. witness or time)   (email)      (email)                  (email)    (web)   (30-day)                      (7-day)       (Next day)     (2 hrs)

 7/26/17              WHA             Motion




10. ADDITIONAL COMMENTS, INSTRUCTIONS, QUESTIONS, ETC:
      Same day delivery requested. Please email the final transcript to: NChatterjee@goodwinlaw.com, jvosler@goodwinlaw.com, and MLeahy@goodwinlaw.com.

 ORDER & CERTIFICATION (11. & 12.) By signing below, I certify that I will pay all charges (deposit plus additional).                                                       12. DATE

11. SIGNATURE
                                                                                                                                                                               7/26/2017
      /s/ I. Neel Chatterjee
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